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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

             -against-                             18 Cr. 609 (RJD)

 BUSHAWN SHELTON,

                     Defendant.




                     MEMORANDUM OF LAW IN SUPPORT OF
                       MOTION TO SUPPRESS EVIDENCE
                            ILLEGALLY SEIZED




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           Defendant Bushawn Shelton, by and through undersigned counsel, respectfully moves this

Court, pursuant to Rule 12 of the Federal Rules of Criminal Procedure, and the Fourth Amendment

to the United States Constitution, to suppress evidence obtained as a result of unconstitutional

searches and seizures conducted on October 11, 2018 and December 14, 2018, and such further

relief as the Court may deem just and proper. A hearing is requested on this motion.1


                                         PRELIMINARY STATEMENT


           The government violated Mr. Shelton’s Fourth Amendment rights by seeking and executing

unconstitutional general warrants of such breathtaking scope that they permitted the search of every

corner of the residence and vehicle he shared with his family, and ransacked and seized nearly every

tangible and intangible item that existed within them. One’s home has historically held a significant

place both in American society and jurisprudence. More than just walls and a roof, the home is a

place of personal refuge and a domain of personal privacy. It is where we raise our children, take

care of our grandparents, share the most intimate moments with our spouses, and are free to let our

guard down, allowing for the development of deep personal relationships. This is precisely why the

home was given prominence in Fourth Amendment protections, and why centuries of American law

have striven to hold true to those protections.

           The warrants here were general requests to search and seize every item that the government

could find in Mr. Shelton’s residence and vehicle in the hope that something useful would turn up.

Tellingly, the warrants acknowledged that other individuals lived in the residence with Mr. Shelton

and explicitly authorized the seizure of items that did not belong to Mr. Shelton or anyone else

suspected of committing any crimes. They also included broad catch-all provisions and language that

effectively authorized a free-for-all for the officers executing the search.


1   Counsel reserves the right to supplement this motion upon disclosure of additional information.

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        The warrants that were used here to invade the sanctity of Mr. Shelton’s family home were

overbroad, insufficiently particular, and materially misleading. As such, the evidence gathered

pursuant to them should be suppressed under the Fourth Amendment.


                                            ARGUMENT

        Under the Fourth Amendment, “the home is first among equals.” Florida v. Jardines, 569 U.S.

1, 6 (2013). The Amendment’s “very core” establishes “the right of a man to retreat into his own

home and there be free from unreasonable governmental intrusion.” Id. (quoting Silverman v. United

States, 365 U.S. 505, 511 (1961)). To protect against this unreasonable intrusion, the Fourth

Amendment provides that “no Warrants shall issue, but upon probable cause, supported by Oath or

affirmation, and particularly describing the place to be searched, and the person or things to be

seized.” U.S. Const. amend. IV. The specificity required by the Warrants Clause has two distinct

aspects: particularity and breadth. “Although somewhat similar in focus, these are two distinct legal

issues: (1) whether the items listed as ‘to be seized’ in the warrant were overbroad because they

lacked probable cause and (2) whether the warrant was sufficiently particularized on its face to

provide the necessary guidelines for the search by the executing officers.” United States v. Zemlyansky,

945 F. Supp. 2d. 438, 450 (S.D.N.Y. 2013) (quotation marks omitted). The basic impetus for the

particularity and breadth requirements was the elimination of general searches. See Stanford v. Texas,

379 U.S. 476, 486 (1965) (“[T]he Fourth and Fourteenth Amendments guarantee to [the defendant]

that no official of the State shall ransack his home and seize his books and papers under the

unbridled authority of a general warrant.”); United States v. Shi Yan Liu, 239 F.3d 138, 140 (2d Cir.

2000). “Courts implement the particularity requirement by insisting that warrants not ‘leave to the

unguided discretion of the officers executing the warrant the decision as to what items may be

seized.’” United States v. Wey, 256 F. Supp. 3d 355, 380 (S.D.N.Y. 2017) (quoting Zemlyansky, 945 F.

Supp. 2d at 453). The requirement “makes general searches . . . impossible and prevents the seizure
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of one thing under a warrant describing another.” Marron v. United States, 275 U.S. 192, 196 (1927).

These requirements “are not ‘formalities.’” United States v. Voustianiouk, 685 F.3d 206, 210 (2d Cir.

2012) (quoting McDonald v. United States, 335 U.S. 451, 455 (1948)). “The uniformly applied rule is

that a search conducted pursuant to a warrant that fails to conform to the particularity requirement

of the Fourth Amendment is unconstitutional.” Massachusetts v. Shepherd, 468 U.S. 981, 988 n.5

(1984). A search warrant is overbroad if its “description of the objects to be seized . . . is broader

than can be justified by the probable cause upon which the warrant is based.” Wey, 256 F. Supp. 3d

at 382. Probable cause is demonstrated where “the totality of circumstances indicates a ‘fair

possibility that contraband or evidence of a crime will be found in a particular place.’” Walczyk v. Rio,

496 F.3d 139, 156 (2d Cir. 2007) (citations omitted). General searches have been described as

“especially pernicious,” and they “have long been deemed to violate fundamental rights.” Shi Yan

Liu, 239 F.3d at 140 (citation and quotation marks omitted).

         Mr. Shelton challenges the constitutionality of the following warrants:

             •   The October 10, 2018, search warrant for the premises known as
                                                    (Ex. A, “October 2018 Residence Warrant”);

             •   The October 10, 2018, search warrant for the red and black
                                                  (Ex. A, “October 2018 Vehicle Warrant”);2

             •   The December 13, 2018, search warrant for the premises known known as
                                                             (Ex. B, “December 2018 Residence
                 Warrant”).

    I.       The October 2018 Residence Warrant

         On October 10, 2018, FBI Special Agent Michael Zoufal applied for a search warrant for




2 The October 2018 Residence Warrant and the Vehicle Warrant were requested by FBI Special Agent Michael Zoufal in
the same application, using the same supporting affidavit, but granted as separate warrants. See Ex. A.

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                                                                                       When a warrant describes

the objects of a search in unduly “general terms,’ it “raises the possibility that there does not exist a

showing of probable cause to justify a search for them.” 2 LaFave, Search and Seizure, § 4.6(a) (4th ed.

2004). The overall breadth of the warrant as a whole justifies exclusion of all of the items seized

from the home.

             B. The Absence of Any Limit on the Places Within the Residence to be Searched
                Renders the Warrant Invalid

         The Residence Warrant was overbroad because it placed no limit on the particular places

within the residence to be searched. The residence at                                    is a

                                                                Law enforcement scoured every corner of the

entire home, seizing items from all four bedrooms as well as other parts of the house. The warrant

affidavit acknowledges that



                                                                                    , in clear violation of the

Fourth Amendment,6 but the affidavit



The government made no effort to determine which bedrooms belonged to whom, or if certain

areas of the home were otherwise used only or primarily by a person other than Mr. Shelton. The

government had no probable cause to search the entire house and seize items from every single

bedroom and other areas of the home for which it had no probable cause to believe that items that

had any relevance to the subject offenses would be located.

                      and nowhere in the affidavit are any facts provided to provide any probable cause




6The warrant’s authorization to seize and review electronic storage media used and owned by other individuals is
addressed in the separate Devices Motion.

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211, 2022 WL 789164 (E.D. Pa. Mar. 15, 2022) (finding “that the warrants fail to satisfy the

particularity requirement, and are overbroad, insofar as they authorized the seizure of ‘all cash’ at the

subject locations. ‘All cash’ is an overly broad description because it contains no limitation on

which cash could be seized nor provided details as to how ‘all cash’ at Tony Luke’s and Tony Luke’s

Commissary was connected with criminal activity.”). The affidavit also provides no probable cause

for the specific seizure of “




        The warrant unconstitutionally permits the seizure of




        Further, the information provided by the informant is stale. The affidavit does not provide

any dates or time frame on which




                                See United States v. Wagner, 989 F.2d 69, 75 (2d Cir. 1993) (“[T]he facts in

an affidavit supporting a search warrant must be sufficiently close in time to the issuance of

the warrant and the subsequent search conducted so that probable cause can be said to exist as of

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        Such items have no relevance to the subject offenses. Special Agent Zoufal does not even

claim in the affidavit that they do, or tie any                       , and

                             with the subject offenses, or any criminal activity at all. This is merely an

underhanded authorization to seize information regarding general association with groups of people,

which, again, has been found to be “constitutionally intolerable.” Stanford, 379 U.S. at 486; see also

Ybarra v. Illinois, 444 U.S. 85, 91 (1979) (“A persons mere propinquity to others independently

suspected of criminal activity does not, without more give rise to probable cause to search that

person.”); United States v. Coreas, 419 F.3d 151, 157 (2d Cir. 2005) (“Where an organization is not so

‘wholly illegitimate’ that membership itself necessarily implies criminal conduct, membership alone

cannot provide probable cause”).

        The seizure of this category of items as described also suffers from a lack of particularity. Its

broad language would justify, for example, the seizure of

                                                                                 . Due to the absence of

any temporal limit, it would also justify the seizure of any item regardless of how old it was. As a

hypothetical,

                                                                                                     the

warrant would justify its seizure even though there would be absolutely no nexus between such item

and the subject offenses in this case.

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        This category of items as described is also both overbroad and insufficiently particular due to

its complete absence of a temporal limit and any guidance to prevent officers from seizing property

belonging to the other individuals that the government knew lived in the residence. It is also stale, as



See Wagner, 989 F.2d at 75; Rivera, 928 F.2d at 602.

                      10. The Catch-All Provision

        Finally,



                                                                         This catch-all provision is

insufficiently particular because “[m]ere reference to ‘evidence’ of a violation of a broad criminal

statute or general criminal activity provides no readily ascertainable guidelines for the executing

officers as to what items to seize.” United States v. George, 975 F.2d 72, 76 (2d Cir. 1992).

                                                                        provide no guidelines on what

the broadly alleged activities would allow to be seized or not seized, or that would otherwise ensure

that “nothing is left to the discretion of the officer executing the warrant.” Marron, 275 U.S. at 196.

Rather, the affidavit misleadingly indicated to the executing officers that the subject offenses

involved a much broader time frame and scope of activities.




        In fact, the limitless nature of the warrant was borne out by the search that ensued. The




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executing officers




    . It is patently clear from                        that the officers were quite literally rummaging

through the entire house, hoping to turn up something useful.

             D. The Warrant Was Misleading

         Under Franks v. Delaware, a defendant may challenge a search conducted pursuant to a

warrant where the affidavit submitted in support of the warrant application is alleged to be

deliberately or recklessly false or misleading. See 438 U.S. 154, 155-56 (1978). To prevail, a defendant

must show that the warrant affiant made at least recklessly false statements or omissions that were

material to the issuing court’s finding of probable cause. See id. at 156; United States v. Rajaratnam, 719

F.3d 139, 146 (2d Cir. 2013). The two relevant inquiries are (1) whether an affidavit was intentionally

or recklessly misleading and (2) whether any misstatement or omission in the affidavit was material.

See, e.g., Rajaratnam, 719 F.3d at 146; United States v. Canfield, 212 F.3d 713, 717-18 (2d Cir. 2000). To

determine whether misstatements are “material,” a court must set aside the falsehoods in the

application and determine whether what remains supports a finding of probable cause. See, e.g.,

United States v. Coreas, 419 F.3d 151, 155 (2d Cir. 2005). For omissions, the court must determine

whether, if the omitted material had been included in the affidavit, the affidavit would still establish


8“Taking photographs is a ‘seizure’ within the meaning of the Fourth Amendment.” Ayeni v. CBS Inc., 848 F. Supp. 362,
368 (E.D.N.Y. 1994) (citing United States v. Villegas, 899 F.2d 1324 (2d Cir. 1990)).


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probable cause for a search. See Rajaratnam, 719 F.3d at 146. And when an affidavit contains

misstatements and omissions, a reviewing court does not afford any deference to the magistrate

judge’s probable cause determination. See Canfield, 212 F.3d at 717. If the defendant meets the Franks

standard, then the “search warrant must be voided and the fruits of the search excluded to the same

extent as if probable cause was lacking on the face of the affidavit.” 438 U.S. at 156.

        In the instant warrant, there are multiple instances of misleading information contained in

the supporting affidavit.




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                  cause to believe that there would be an additional firearm in the home.




                            . When an affidavit for a warrant contains statements that contradict

themselves, a Franks hearing is required. See United States v. McMurtrey, 704 F.3d 502, 513 (7th Cir.

2013) (“In sum, because it is impossible to resolve the officers’ factual contradictions as set forth in

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[the warrant application] . . . we remand for a full Franks hearing.”). In McMurtrey, the Seventh

Circuit found that when two statements directly contradict each other, “[i]t is reasonable to infer that

such direct contradictions by and between capable and careful police officers were unlikely to be

merely negligent.” Id. at 512.

        If a search warrant is void under Franks, the good-faith exception to the exclusionary rule

does not apply. See United States v. Leon, 468 U.S. 897, 923 (1984); United States v. Reilly, 76 F.3d 1271,

1280-81 (2d Cir. l996).



                                                                 the warrant affidavit misrepresented

and withheld information that was critical to the magistrate judge’s probable cause determination.

The information in the affidavit was materially misleading, at least reckless, and perhaps intentional.


            E. The Warrant Gave the Executing Officers Unbridled Discretion That Led to
               Further Fourth Amendment Violations

        The warrant granted the officers executing the search and seizure of items such unbridled

discretion that they committed additional Fourth Amendment violations after the search at the

residence was completed. The items seized from the residence on October 11, 2018, according to

                                                         .




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offenses. And even if they had, the information from both of the sources cited above was stale; by

the time of the search on October 11, 2018, the incidents that are cited had taken place three

months prior. See Wagner, 989 F.2d at 75; Rivera, 928 F.2d at 602.

           Further, the Vehicle Warrant’s “items to be seized” list is identical to the list provided for the

October 2018 Residence Warrant. The government simply copied and pasted the same list of items

that it claimed it had probable cause to seize from the vehicle in particular, from the list of items for

the residence. This belies any claim by the government that it made any particularized determination,

as required, that there was “a fair probability that contraband or evidence of a crime will be found in

a particular place.” Gates, 462 U.S. at 238 (emphasis added).

    III.       The December 2018 Residence Warrant

           On December 13, 2018, more than two months after the government executed the October

2018 Residence Warrant, Special Agent Zoufal applied for a second warrant to search the residence.

See Ex. B. The warrant was authorized by the Honorable Steven M. Gold the same day. Id. at



           As set forth above, the October 2018 Residence Warrant was invalid. The affidavit in

support of the December 2018 Residence Warrant

                                    . Thus, any evidence obtained pursuant to the second warrant

should also be suppressed as fruit of the invalid prior warrant. See United States v. Cacace, 796 F.3d

176, 188 (2d Cir. 2015) (“When applicable, the exclusionary rule reaches not only primary evidence

obtained as a direct result of an illegal search or seizure, but also evidence later discovered and found

to be derivative of an illegality or ‘fruit of the poisonous tree.’”) (quotations omitted). In the

December 2018 affidavit, the government alleges




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                                                                      The evidence seized as a result of

this second warrant was “come at by exploitation” of the original warrant’s illegality and thus still

has “the primary taint.” Wong Sun v. United States, 371 U.S. 471, 488 (1963). Therefore, the evidence

should be suppressed. Id.

        Additionally, the information the warrant relies                           was stale. The

affidavit states

             See Ex. B at 016662. This lengthy stretch of time renders                    stale for the

purposes of establishing probable cause. See Wagner, 989 F.2d at 75; Rivera, 928 F.2d at 602.

        Finally, the items that were actually seized when the warrant was executed on December 14,

2018—                   —were not authorized for seizure by the warrant. The warrant authorized

seizure of



                                                                          With limited exception, only

items listed in a warrant may be seized. See Marron, 275 U.S. at 196 (“As to what is to be taken,

nothing is left to the discretion of the officer executing the warrant.”). The limited exception is if the

item seized was in plain view “and its incriminating character must also be immediately apparent.”

Horton v. California, 496 U.S. 128, 137 (1990) (emphasis added). That was not the case here.

                                                                                                    The

officers executing the search could not have conceivably determined, much less found “immediately

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           Taken in conjunction with the seizure of        electronic devices from Mr. Shelton’s residence

and vehicle,11 the searches here unquestionably resembled general searches into every aspect of Mr.

Shelton’s life, with no adequate safeguards in place. The “government agents effect[ed] a widespread

seizure of items that were not within the scope of the warrant, and [did] not act in good faith.” Wey,

256 F. Supp. 3d at 410 (internal citation and quotation marks omitted). “The rationale for blanket

suppression is that a search that greatly exceeds the bounds of a warrant and is not conducted in

good faith is essentially indistinguishable from a general search.” Shi Yan Liu, 239 F.3d at 141; Accord

United States v. Cardwell, 680 F.2d 75, 78-79 (9th Cir. 1982); United States v. Medlin, 842 F.2d 1194,

1199 (10th Cir. 1988). The government’s actions in seizing and searching such a large volume of

unresponsive material demonstrates “grossly negligent or reckless disregard of the strictures of the

Fourth Amendment, and that is sufficient to infer a lack of good faith. . . . These are precisely the

sort of circumstances, rare or not, that call for blanket suppression.” Wey, 256 F. Supp. 3d at 410.

The government’s reckless disregard is especially evident here given the additional grave problems

with the search warrants, including the misleading and reckless misrepresentations and omissions,

the seizure of property not belonging to Mr. Shelton, and the lack of nexus between much of the

information seized and the probable cause asserted. The Fourth Amendment should guarantee to

Mr. Shelton, no less than anyone else, “that no official of the State shall ransack his home and seize

his books and papers under the unbridled authority of a general warrant.” Stanford, 379 U.S. at 486.

                                             CONCLUSION

           Because of the illegal actions of law enforcement in this case, all evidence obtained as a

result of that unconstitutional conduct should be suppressed. Mr. Shelton requests leave to file any

additional motions which may become necessary based on the government’s response, disclosure of




11   See the Devices Motion.

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additional information, or newly discovered facts as a result of his ongoing investigation into this

case.

Dated: April 29, 2022

                                                        Respectfully submitted,



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